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                                                                                                    US D C S D N Y
                                                                                                    D OC U ME NT
                                                                                                    E L E C T R O NI C A L L Y FI L E D
U NI T E D S T A T E S DI S T RI C T C O U R T
                                                                                                    D O C #: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
S O U T H E R N DI S T RI C T O F N E W Y O R K
                                                                                                    D A T E FI L E D : 1/ 9 / 2 0 2 1
------------------------------------------------------------------X
  Z O L T A N K RI S K O ,                                         :
                                                                   :
                                                  P l ai ntiff,    :
                               - v-                                :                                      1: 1 9 -c v -9 2 5 6 - G H W
                                                                   :
  M A R V E L E N T E R T AI N M E N T, L L C, W A R N E R :                                                      OR DER
  C H A P P E L L M U SI C, I N C., T H E W A L T                  :
  DI S N E Y C O. F O X C O R P., B U E N A VI S T A               :
  T E L E VI SI O N, L L C, U M G R E C O R DI N G S I N C., :
  A M A Z O N. C O M, I N C., A P P L E, I N C., R O N A L D :
  A A R O N W A S S E R M A N, S H U KI L E VI, H AI M             :
  S A B A N,                                                       :
                                                                   :
                                             D e f e n d a nts.    :
------------------------------------------------------------------ X


G R E G O R Y H. W O O D S, U nit e d St at es Distri ct J u d g e:
           B y l ett er d at e d J a n u ar y 8, 2 0 2 1, t h e p arti es h a v e i nf or m e d t h e C o urt t h at t his c as e h as s ettl e d.

A c c or di n gl y, it is h er e b y O R D E R E D t h at t his a cti o n b e c o n diti o n all y dis c o nti n u e d wit h o ut

pr ej u di c e a n d wit h o ut c osts; pr o vi d e d, h o w e v er, t h at wit hi n t hirt y ( 3 0) d a ys of t h e d at e of t his

Or d er, t h e p arti es m a y s u b mit t o t h e C o urt t h eir o w n Sti p ul ati o n of S ettl e m e nt a n d Dis miss al.                 1



Ot h er wis e, wit hi n s u c h ti m e Pl ai ntiff m a y a p pl y b y l ett er f or r est or ati o n of t h e a cti o n t o t h e a cti v e

c al e n d ar of t his C o urt i n t h e e v e nt t h at t h e s ettl e m e nt is n ot c o ns u m m at e d. U p o n s u c h a p pli c ati o n

f or r ei nst at e m e nt, t h e p arti es s h all c o nti n u e t o b e su bj e ct t o t h e C o urt’ s j uris di cti o n, t h e C o urt s h all

pr o m ptl y r ei nst at e t h e a cti o n t o its a cti v e d o c k et, a n d t h e p arti es s h all b e dir e ct e d t o a p p e ar b ef or e

t h e C o urt, wit h o ut t h e n e c essit y of a d diti o n al pr o c ess, o n a d at e wit hi n t e n ( 1 0) d a ys of t h e

a p pli c a ti o n, t o s c h e d ul e r e m ai ni n g pr etri al pr o c e e di n gs a n d / or dis p ositi v e m oti o ns, as a p pr o pri at e.

T his Or d er s h all b e d e e m e d a fi n al dis c o nti n u a n c e of t h e a cti o n wit h pr ej u di c e i n t h e e v e nt t h at



1
  As e x pl ai n e d i n R ul e 4( D ) of t h e C o urt’s I n di vi d u al R ul es of Pr a cti c e i n Ci vil C as es, t h e C o urt will n ot r et ai n
j uris di cti o n t o e nf or c e c o nfi d e nti al s ettl e m e nt a gr e e m e nts. If t h e p arti es wis h t h at t h e C o urt r et ai n
j uris di cti o n t o e nf or c e t h e a gr e e m e nt, t h e p arti es m ust pl a c e t h e t er ms of t h eir s ettl e m e nt a gr e e m e nt o n t h e
p u bli c r e c or d.
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Pl ai ntiff h as n ot r e q u est e d r est or ati o n of t h e c as e t o t h e a cti v e c al e n d ar wit hi n s u c h 3 0- d a y p eri o d.

              T h e Cl er k of C o urt is f urt h er dir e ct e d t o t er mi n at e all p e n di n g m oti o ns, a dj o ur n all

r e m ai ni n g d at es, a n d t o cl os e t his c as e.

              S O O R D E R E D.

  D at e d:     Ja n u ar y 9 , 2 0 2 1                                      _____________________________________
                                                                                      G R E G O R Y H. W O O D S
                                                                                     U nit e d St at es Distri ct J u d g e




                                                                         2
